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                        EXHIBIT A
                            9611D CA 1014
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    CALIFORNIA
    AUTO POLICY




    Form 9611D CA (10/14)
    version 1.0
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                    CALIFORNIA
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                             LIMITS OF FUTURE COVERAGE

   PLEASE REFER TO THE “GENERAL PROVISIONS” SECTION OF THIS POLICY
   AND READ THE FOLLOWING PROVISIONS CAREFULLY. THEY MAY AFFECT
   YOUR COVERAGE IN THE FUTURE:
                             CHANGES
                           CANCELLATION
                            NONRENEWAL

                                  INSURING AGREEMENT

   In return for your payment of the premium, we agree to insure you subject to all the
   terms, conditions and limitations of this policy. We will insure you for the coverages
   and the limits of liability shown on this policy’s declarations page. Your policy consists
   of the policy contract, your insurance application, the declarations page, and all en-
   dorsements to this policy.

                                  GENERAL DEFINITIONS

   The following definitions apply throughout the policy. Defined terms are printed in bold-
   face type and have the same meaning whether in the singular, plural, or any other form.
   1.	“Additional auto” means an auto you become the owner of during the policy
       period that does not permanently replace an auto expressly identified on the dec-
       larations page if:
       a.	 we insure all other autos you own;
       b.	the additional auto is not covered by any other insurance policy;
       c.	you notify us within 30 days of becoming the owner of the additional auto;
            and
       d.	 you pay any additional premium due.
   	An additional auto will have the broadest coverage we provide for any auto shown
       on the declarations page. If you ask us to insure an additional auto more than
       30 days after you become the owner, any coverage we provide will begin at the
       time you request coverage.
   2.	“Auto” means a land motor vehicle:
       a.	of the private passenger, pickup body, or cargo van type;
       b.	designed for operation principally upon public roads;
       c.	with at least four wheels; and
       d.	with a gross vehicle weight rating of 12,000 pounds or less, according to the
            manufacturer’s specifications.
   	However, “auto” does not include step-vans, parcel delivery vans, or cargo cutaway
       vans or other vans with cabs separate from the cargo area.
   3.	“Auto business” means the business of selling, leasing, repairing, parking, storing,
       servicing, delivering or testing vehicles.
   4.	“Bodily injury” means bodily harm, sickness, or disease, including death that re-
       sults from bodily harm, sickness, or disease.
                                               1
   5.	“Covered auto” means:
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        a.	an auto or trailer expressly identified by make, model and vehicle identification
              number on the declarations page for the coverages applicable to that auto or
              trailer;
        b.	any additional auto;
        c.	any replacement auto; or
        d.	a trailer owned by you.
   6.	“Declarations page” means the document showing your coverages, limits of li-
        ability, covered autos, premium, and other policy-related information. The declara-
        tions page may also be referred to as the Auto Insurance Coverage Summary.
   7.	“Occupying” means in, on, entering or exiting.
   8.	“Rated resident” means a person residing in the same household as you at the
        time of the loss who is not a relative, but only if that person is both:
        a.	listed in the “Drivers and household residents” section on the declarations
              page; and
        b.	not designated as either an “Excluded” or a “List Only” driver.
   9.	“Relative” means a person residing in the same household as you, and related to
        you by blood, marriage or adoption, and includes a ward, stepchild, or foster child.
        Your unmarried dependent children temporarily away from home will qualify as a
        relative if they intend to continue to reside in your household.
   10.	“Replacement auto” means an auto that permanently replaces an auto expressly
        identified on the declarations page. A replacement auto will have the same cov-
        erage as the auto it replaces if the replacement auto is not covered by any other
        insurance policy. However, if the auto being replaced had coverage under Part
        IV—Damage To A Vehicle, such coverage will apply to the replacement auto only
        during the first 30 days after you become the owner unless you notify us within that
        30-day period that you want us to extend coverage beyond the initial 30 days. If the
        auto being replaced did not have coverage under Part IV—Damage To A Vehicle,
        such coverage may be added, but the replacement auto will have no coverage
        under Part IV until you notify us of the replacement auto and ask us to add the
        coverage.
   11.	“Trailer” means a non-motorized trailer, including a farm wagon or farm implement,
        designed to be towed on public roads by an auto and not being used:
        a.	for commercial purposes;
        b.	as an office, store, or for display purposes; or
        c.	as a passenger conveyance.
   12.	“We,” “us” and “our” mean the underwriting company providing the insurance, as
        shown on the declarations page.
   13.	“You” and “your” mean:
        a.	a person shown as a named insured on the declarations page;
        b.	the spouse of a named insured if residing in the same household at the time of
              the loss; and
        c.	the registered domestic partner of a named insured if residing in the same
              household at the time of the loss.


                                               2
                   PART I—LIABILITY
0-cv-04579-VAP-SK Document          TO OTHERS
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   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay damages for bodily injury and
   property damage for which an insured person becomes legally responsible because
   of an accident.

   Damages include prejudgment interest awarded against an insured person.

   We will settle or defend, at our option, any claim for damages covered by this Part I.
   If, however, in the defense of any claim, an insured person is entitled by law to inde-
   pendent counsel, and has not waived that right in writing, we will provide such counsel.
   Independent counsel may, however, be chosen by the insured person provided that
   such counsel has the following minimum qualifications:
   1.	at least five years of experience in civil litigation, including substantial defense ex-
         perience in the subject at issue in the action; and
   2. errors and omissions coverage.
   We are not obligated to pay the fees of such counsel until the insured person provides
   us with reasonable written proof that the counsel chosen possesses these minimum
   qualifications. In no event are we obligated to pay fees in excess of the rate actually paid
   by us to an attorney in the ordinary course of business in the defense of a similar action
   in the community in which the claim arose or is being defended.

   We will also pay for replacement of a child passenger restraint system meeting ap-
   plicable federal motor vehicle safety standards that was damaged in, or being used by
   a child at the time of, an accident for which liability coverage under your policy is ap-
   plicable due to the liability of an insured person.

   ADDITIONAL DEFINITIONS

   When used in this Part I:
   1. “Insured person” means:
       a.	you, a relative, or a rated resident with respect to an accident arising out of
           the ownership, maintenance or use of an auto or a trailer;
       b.	any person with respect to an accident arising out of that person’s use of a
           covered auto with the permission of you, a relative, or a rated resident;
       c.	any person or organization with respect only to vicarious liability for the acts or
           omissions of a person described in a. or b. above; and
       d.	any “Additional Interest” shown on the declarations page with respect only to
           its liability for the acts or omissions of a person described in a. or b. above.
   2.	“Property damage” means physical damage to, destruction of, or loss of use of,
       tangible property.



                                                3
   ADDITIONAL PAYMENTS
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   In addition to our limit of liability, we will pay for an insured person:
   1.	all expenses we incur in the settlement of any claim or defense of any lawsuit;
   2.	interest accruing after entry of judgment, until we have paid, offered to pay, or de-
        posited in court, that portion of the judgment which does not exceed our limit of
        liability. This does not apply if we have not been given notice of suit or the opportu-
        nity to defend an insured person;
   3.	the premium on any appeal bond or attachment bond required in any lawsuit we
        defend. We have no duty to purchase a bond in an amount exceeding our limit of
        liability, and we have no duty to apply for or furnish these bonds;
   4.	up to $250 for a bail bond required because of an accident resulting in bodily in-
        jury or property damage covered under this Part I. We have no duty to apply for
        or furnish this bond; and
   5.	reasonable expenses, including loss of earnings up to $200 per day, incurred at
        our request.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART I.

   Coverage under this Part I, including our duty to defend, will not apply to any insured
   person for:
   1.	bodily injury or property damage arising out of the ownership, maintenance or
       use of any vehicle or trailer while being used:
       a.	to carry persons or property for compensation or a fee; or
       b.	for retail or wholesale delivery, including, but not limited to, the pickup, transport
           or delivery of magazines, newspapers, mail or food.
       This exclusion does not apply to shared-expense car pools;
   2.	any liability assumed under any contract by that insured person;
   3.	bodily injury to an employee of that insured person arising out of or within the
       course of employment. This exclusion does not apply to domestic employees if
       benefits are neither paid nor required to be provided under workers’ compensation,
       disability benefits, or similar laws;
   4.	bodily injury or property damage arising out of an accident involving any vehicle
       while being maintained or used by a person while employed or engaged in any
       auto business. This exclusion does not apply to you, a relative, a rated resident,
       or an agent or employee of you, a relative, or a rated resident, when using a
       covered auto;
   5.	bodily injury or property damage resulting from, or sustained during practice or
       preparation for:
       a.	any pre-arranged or organized racing, stunting, speed or demolition contest or
           activity; or
       b.	any driving activity conducted on a permanent or temporary racetrack or race-
           course;
   6.	bodily injury or property damage due to a nuclear reaction or radiation;
   7.	bodily injury or property damage for which insurance:
       a.	is afforded under a nuclear energy liability insurance contract; or
                                                 4
       b.	would be afforded
0-cv-04579-VAP-SK            under a nuclear
                          Document     1-1 energy
                                             Filed liability
                                                    05/21/20 insurance contract
                                                                    Page    10 but for its Pag
                                                                                of 41
                termination upon exhaustion of its limit of liability;
     8.	 bodily injury or property damage caused by an intentional act of that insured
          person, or at the direction of that insured person, even if the actual injury or dam-
          age is different than that which was intended or expected;
     9.	 property damage to any property owned by, rented to, being transported by, or
          in the charge of that insured person. This exclusion does not apply to a rented
          residence or a rented garage;
     10.	bodily injury to you or a relative;
     11.	bodily injury or property damage arising out of the ownership, maintenance or
          use of any vehicle owned by you or furnished or available for your regular use,
          other than a covered auto for which this coverage has been purchased;
     12.	bodily injury or property damage arising out of the ownership, maintenance or
          use of any vehicle owned by a relative or a rated resident or furnished or available
          for the regular use of a relative or a rated resident, other than a covered auto for
          which this coverage has been purchased. This exclusion does not apply to your
          maintenance or use of such vehicle;
     13.	bodily injury or property damage arising out of your, a relative’s, or a rated
          resident’s use of a vehicle, other than a covered auto, without the permission of
          the owner of the vehicle or the person in lawful possession of the vehicle;
     14.	punitive or exemplary damages;
     15.	bodily injury or property damage caused by, or reasonably expected to result
          from, a criminal act or omission of that insured person. This exclusion applies
          regardless of whether that insured person is actually charged with, or convicted
          of, a crime. For purposes of this exclusion, criminal acts or omissions do not include
          traffic violations; or
     16.	bodily injury or property damage arising out of the use of a covered auto while
          used in connection with a personal vehicle sharing program or other similar pro-
          gram which engages in the business of facilitating the sharing of private passenger
          motor vehicles.

     LIMITS OF LIABILITY

     The limit of liability shown on the declarations page for liability coverage is the most we
     will pay regardless of the number of:
     1.	claims made;
     2.	  covered autos;
     3.	  insured persons;
     4.	lawsuits brought;
     5.	vehicles involved in the accident; or
     6.	premiums paid.

     If your declarations page shows a split limit:
     1.	the amount shown for “each person” is the most we will pay for all damages due to
          bodily injury to one person resulting from any one accident;

                                                 5
    2.	subject to the “eachDocument
0-cv-04579-VAP-SK           person” limit, the
                                            1-1amount
                                                 Filedshown for “each Page
                                                        05/21/20      accident”
                                                                             11is of
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                                                                                     most Pag
         we will pay for all damages due to bodily injury sustained by two or more persons
         in any one accident; and
     3.	the amount shown for “property damage” is the most we will pay for the total of all
         property damage resulting from any one accident.

     Except as otherwise provided by law, the “each person” limit of liability applies to the
     total of all claims made for bodily injury to a person and all claims of others derived
     from such bodily injury, including, but not limited to, emotional injury or mental anguish
     resulting from the bodily injury of another or from witnessing the bodily injury to an-
     other, loss of society, loss of companionship, loss of services, loss of consortium, and
     wrongful death.

     If the declarations page shows that “combined single limit” or “CSL” applies, the
     amount shown is the most we will pay for the total of all damages resulting from any
     one accident. However, without changing this limit of liability, we will comply with any law
     that requires us to provide any separate limits.

     No one is entitled to duplicate payments for the same elements of damages.

     Any payment to a person under this Part I will be reduced by any payment to that person
     under Part III(A)—Uninsured/Underinsured Motorist Bodily Injury Coverage.

     We will not pay under this Part I any expenses paid or payable under Part II—Medical
     Payments Coverage.

     If multiple auto policies issued by us are in effect for you, we will pay no more than the
     highest limit of liability for this coverage available under any one policy.

     An auto and attached trailer are considered one auto. Therefore, the limits of liability
     will not be increased for an accident involving an auto that has an attached trailer.

     FINANCIAL RESPONSIBILITY LAWS

     When we certify this policy as proof of financial responsibility, this policy will comply with
     the law to the extent required. The insured person must reimburse us if we make a
     payment that we would not have made if this policy was not certified as proof of financial
     responsibility.

     OTHER INSURANCE

     If there is any other applicable liability insurance or bond, we will pay only our share of
     the damages. Our share is the proportion that our limit of liability bears to the total of all
     applicable limits. However, any insurance we provide for a vehicle or trailer, other than a
     covered auto, will be excess over any other collectible insurance, self-insurance, or bond.

                                                   6
    OUT-OF-STATE COVERAGE
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   If an accident to which this Part I applies occurs in any state, territory or possession of
   the United States of America or any province or territory of Canada, other than the one
   in which a covered auto is principally garaged, and the state, province, territory or pos-
   session has:
   1.	a financial responsibility or similar law requiring limits of liability for bodily injury
        or property damage higher than the limits shown on the declarations page, this
        policy will provide the higher limits; or
   2.	a compulsory insurance or similar law requiring a non-resident to maintain insur-
        ance whenever the non-resident uses an auto in that state, province, territory or
        possession, this policy will provide the greater of:
        a.	the required minimum amounts and types of coverage; or
        b.	the limits of liability under this policy.

                       PART II—MEDICAL PAYMENTS COVERAGE

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay the reasonable expenses incurred
   for necessary medical services received within three years from the date of a motor
   vehicle accident because of bodily injury:
   1.	sustained by an insured person; and
   2.	caused by that motor vehicle accident.

   We, or someone on our behalf, will determine:
   1.	whether the expenses for medical services are reasonable; and
   2.	whether the medical services are necessary.

   ADDITIONAL DEFINITIONS

   When used in this Part II:
   1.	“Insured person” means:
       a.	 you, a relative, or a rated resident:
   		(i)	while occupying an auto; or
   		 (ii)	when struck by a motor vehicle or a trailer while not occupying a self-
                propelled motorized vehicle; and
       b.	any other person while occupying a covered auto with the permission of
            you, a relative, or a rated resident.
   2.	“Medical services” means medical, surgical, dental, x-ray, ambulance, hospital,
       professional nursing, and funeral services, and includes the cost of eyeglasses,
       hearing aids, pharmaceuticals, orthopedics, and prosthetic devices.
   3.	“Motor vehicle” means a land motor vehicle designed for use principally on public
       roads.


                                                7
    EXCLUSIONS—READDocument
0-cv-04579-VAP-SK  THE FOLLOWING EXCLUSIONS
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                                      05/21/20 Page 13IFof
                                                        AN41
                                                           EX- Pag
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART II.

   Coverage under this Part II will not apply to bodily injury:
   1.	sustained by any person while occupying a covered auto while it is being used:
        a.	to carry persons or property for compensation or a fee; or
        b.	for retail or wholesale delivery, including, but not limited to, the pickup, transport
             or delivery of magazines, newspapers, mail or food.
        This exclusion does not apply to shared-expense car pools;
   2.	arising out of an accident involving a vehicle while being maintained or used by a
        person while employed or engaged in any auto business. This exclusion does not
        apply to you, a relative, a rated resident, or an agent or employee of you, a rela-
        tive, or a rated resident, when using a covered auto;
   3.	to any person resulting from, or sustained during practice or preparation for:
        a.	any pre-arranged or organized racing, stunting, speed or demolition contest or
             activity; or
        b.	any driving activity conducted on a permanent or temporary racetrack or race-
             course;
   4.	due to a nuclear reaction or radiation;
   5.	for which insurance:
        a.	is afforded under a nuclear energy liability insurance contract; or
        b.	would be afforded under a nuclear energy liability insurance contract but for its
             termination upon exhaustion of its limit of liability;
   6.	for which the United States Government is liable under the Federal Tort Claims Act;
   7.	sustained by any person while occupying any vehicle or trailer while located for
        use as a residence or premises;
   8.	if workers’ compensation benefits are available for the bodily injury;
   9.	sustained by any person while occupying or when struck by any vehicle owned by
        you or furnished or available for your regular use, other than a covered auto for
        which this coverage has been purchased;
   10.	sustained by any person while occupying or when struck by any vehicle owned
        by a relative or a rated resident or furnished or available for the regular use of a
        relative or a rated resident, other than a covered auto for which this coverage
        has been purchased. This exclusion does not apply to you;
   11.	to you, a relative, or a rated resident, while occupying any vehicle, other than a
        covered auto, without the permission of the owner of the vehicle or the person in
        lawful possession of the vehicle;
   12.	to any person while occupying a covered auto while leased or rented to others
        or given in exchange for any compensation. This exclusion does not apply to the
        operation of a covered auto by you, a relative, or a rated resident;
   13.	caused directly or indirectly by:
        a.	war (declared or undeclared) or civil war;
        b.	warlike action by any military force of any government, sovereign or other au-
             thority using military personnel or agents. This includes any action taken to
             hinder or defend against an actual or expected attack; or
        c.	insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
             ernmental authority to hinder or defend against any of these acts;
                                                 8
    14.	caused directly or indirectly
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         a.	any accidental or intentional discharge, dispersal or release of radioactive,
              nuclear, pathogenic or poisonous biological material; or
         b.	any intentional discharge, dispersal or release of chemical or hazardous mate-
              rial for any purpose other than its safe and useful purpose;
    15.	caused by, or reasonably expected to result from, a criminal act or omission of an
         insured person. This exclusion applies regardless of whether the insured person
         is actually charged with, or convicted of, a crime. For purposes of this exclusion,
         criminal acts or omissions do not include traffic violations; or
    16.	to any person who sustains bodily injury arising out of the use of a covered auto
         while used in connection with a personal vehicle sharing program or other similar
         program which engages in the business of facilitating the sharing of private pas-
         senger motor vehicles.

    LIMITS OF LIABILITY

    The limit of liability shown on the declarations page for Medical Payments Coverage is
    the most we will pay for each insured person injured in any one accident, regardless
    of the number of:
    1.	claims made;
    2.	 covered autos;
    3.	 insured persons;
    4.	lawsuits brought;
    5.	vehicles involved in the accident; or
    6.	premiums paid.

    No one will be entitled to duplicate payments under this policy for the same elements
    of damages.

    Any amount payable to an insured person under this Part II will be reduced by any
    amount paid or payable for the same expense under Part I—Liability To Others or Part
    III(A)—Uninsured/Underinsured Motorist Bodily Injury Coverage.

    If multiple auto policies issued by us are in effect for you, we will pay no more than the
    highest limit of liability for this coverage available under any one policy.

    UNREASONABLE OR UNNECESSARY MEDICAL EXPENSES

    If an insured person incurs expenses for medical services that we deem to be unrea-
    sonable or unnecessary, we may refuse to pay for those expenses and contest them.

    If the medical service provider sues the insured person because we refuse to pay
    expenses for medical services that we deem to be unreasonable or unnecessary, we
    will pay any resulting defense costs, and any resulting judgment against the insured
    person, subject to the limit of liability for this coverage. We will choose the counsel.
    We will also pay reasonable expenses, including loss of earnings up to $200 per day,
    incurred at our request.
                                                9
    The insured person may
0-cv-04579-VAP-SK          not sue us1-1
                        Document     for expenses for medical services
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                                                                         deem
                                                                            41 to Pag
    be unreasonable or unnecessary unless the insured person paid the entire disputed
    amount to the medical service provider or the medical service provider has initiated
    collection activity against the insured person for the unreasonable or unnecessary
    expenses.

    OTHER INSURANCE

    If there is other applicable auto medical payments insurance, we will pay only our share
    of the loss. Our share is the proportion that our limit of liability bears to the total of all
    applicable limits. However, any insurance we provide for an insured person occupy-
    ing a vehicle or trailer, other than a covered auto, will be excess over any other auto
    insurance providing payments for medical services.

                  PART III(A)—UNINSURED/UNDERINSURED MOTORIST
                              BODILY INJURY COVERAGE

    INSURING AGREEMENT

    If you pay the premium for this coverage, we will pay for damages that an insured
    person is legally entitled to recover from the owner or operator of an uninsured motor
    vehicle or underinsured motor vehicle because of bodily injury:
    1.	sustained by an insured person;
    2.	caused by an accident; and
    3.	arising out of the ownership, maintenance or use of an uninsured motor vehicle
         or underinsured motor vehicle.

    We will pay for damages an insured person is entitled to recover from the owner or
    operator of an underinsured motor vehicle only after the limits of liability under all
    applicable bodily injury liability bonds and policies have been exhausted by payment of
    judgments or settlements.

    Any judgment or settlement for damages against an owner or operator of an uninsured
    motor vehicle that arises out of a lawsuit brought without our written consent is not
    binding on us.

    ADDITIONAL DEFINITIONS

    When used in this Part III(A):
    1.	“Insured person” means:
        a.	you, a relative, or a rated resident;
        b.	any person occupying a covered auto;
        c.	any person occupying a non-owned auto while it is being operated by you;
            and
        d.	any person who is entitled to recover damages covered by this Part III(A) be-
            cause of bodily injury sustained by a person described in a., b. or c. above.
    2.	“Underinsured motor vehicle” means a land motor vehicle or trailer to which a
                                                 10
       bodily injury liabilityDocument
0-cv-04579-VAP-SK             bond, policy, cash
                                            1-1 deposit,
                                                 Filed or self-insurance
                                                         05/21/20        certificate
                                                                      Page    16 ofapplies
                                                                                     41 Pag
         at the time of the accident, but the sum of all such bonds, policies, deposits or
         self-insurance is less than the coverage limit for Uninsured/Underinsured Motorist
         Coverage shown on the declarations page.
         An “underinsured motor vehicle” does not include any vehicle or equipment:
         a.	owned by you, a relative, or a rated resident. However, this does not apply if
              a vehicle owned by you, a relative, or a rated resident causes bodily injury
              to an insured person while being operated, or caused to be operated, by a
              person without the consent of the injured insured person and in connection
              with criminal activity, if that criminal activity is documented in a police report
              and the injured insured person is not a party to the criminal activity;
         b. owned by any governmental unit or agency;
         c. designed mainly for use off public roads, while not on public roads;
         d. while used as a residence or premises; or
         e.	expressly identified by make, model and serial number on the declarations
              page of this policy;
     3.	“Uninsured motor vehicle” means a land motor vehicle or trailer of any type:
         a.	to which no bodily injury liability bond or policy applies at the time of the ac-
              cident;
         b.	to which a bodily injury liability bond or policy applies at the time of the acci-
              dent, but the bonding or insuring company:
     		(i)	         denies coverage;
     		 (ii)	refuses to admit coverage except conditionally or under a reservation of
                     rights; or
     		       (iii)	is insolvent, or becomes so within one year of the accident;
         c.	that is a hit-and-run vehicle whose owner or operator cannot be identified and
              which causes bodily injury by striking:
     		(i)	         you, a relative, or a rated resident; or
     		       (ii)	a vehicle that an insured person is occupying;
     		provided that the insured person, or someone on his or her behalf:
     		 (i)	reports the accident to the police or civil authority within 24 hours or as
                     soon as practicable after the accident; and
     		(ii)	        provides us, within 30 days of the accident, a statement under oath that
                     the insured person, or his or her legal representative, has a cause of ac-
                     tion against the owner or operator of a vehicle who cannot be identified.
                     The statement must set forth facts supporting the claim; or
         d.	that is used without the permission of the owner thereof if there is no bodily
              injury liability insurance or bond applicable at the time of the accident with
              respect to the owner or operator thereof.
         An “uninsured motor vehicle” does not include any vehicle or equipment:
         a.	owned or operated by you, a relative, or a rated resident. However, this does
              not apply if a vehicle owned by you, a relative, or a rated resident causes
              bodily injury to an insured person while being operated, or caused to be
              operated, by a person without the consent of the injured insured person and
              in connection with criminal activity, if that criminal activity is documented in
              a police report and the injured insured person is not a party to the criminal
              activity;
                                                 11
       b.	owned or operated
0-cv-04579-VAP-SK            by a self-insurer
                        Document      1-1 Filedunder05/21/20
                                                     any applicable motor17
                                                                 Page     vehicle
                                                                            of 41 law, Pag
             except a self-insurer that is or becomes insolvent;
         c.	owned by any governmental unit or agency;
         d.	designed mainly for use off public roads, while not on public roads;
         e.	while located for use as a residence or premises; or
         f.	that is a covered auto expressly identified by make, model and serial number
             on the declarations page of this policy.

     EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
     EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
     PART III(A).

     Coverage under this Part III(A) will not apply:
     1.	to bodily injury sustained by any person while using or occupying:
         a.	any auto while being used:
     		       (i)	to carry persons or property for compensation or a fee; or
     		 (ii)	for retail or wholesale delivery, including, but not limited to, the pickup,
                   transport or delivery of magazines, newspapers, mail or food.
     		       This exclusion does not apply to shared-expense car pools; or
         b.	a motor vehicle that is owned by you, a relative, or a rated resident. This ex-
              clusion does not apply to a covered auto that is insured under this Part III(A);
     2.	to bodily injury sustained by you, a relative, or a rated resident while using any
         vehicle, other than a covered auto, without the permission of the owner of the
         vehicle or the person in lawful possession of the vehicle;
     3.	directly or indirectly to benefit any insurer or self-insurer under any of the following
         or similar laws:
         a.	workers’ compensation law; or
         b.	disability benefits law;
     4.	to any punitive or exemplary damages;
     5.	to bodily injury sustained by any person and caused by an uninsured motor
         vehicle if that person or the legal representative of that person settles without our
         written consent;
     6.	to bodily injury sustained by any person while using or occupying a motor vehi-
         cle operated by a person excluded from coverage under this policy under a Named
         Driver Exclusion Election;
     7.	to bodily injury sustained by any person while occupying a motor vehicle, other
         than a covered auto, if the owner has insurance similar to that provided under this
         Part III(A); or
     8.	to bodily injury arising out of the use of a covered auto while used in connection
         with a personal vehicle sharing program or other similar program which engages in
         the business of facilitating the sharing of private passenger motor vehicles.

     LIMITS OF LIABILITY

     The limit of liability shown on the declarations page for Uninsured/Underinsured
     Motorist Coverage is the most we will pay regardless of the number of:
     1.	claims made;
                                                 12
       covered autos; Document 1-1 Filed 05/21/20 Page 18 of 41 Pag
    2.	
0-cv-04579-VAP-SK
   3.	insured persons;
   4.	lawsuits brought;
   5.	vehicles involved in the accident; or
   6.	premiums paid.

   If your declarations page shows a split limit:
   1.	the amount shown for “each person” is the most we will pay for all damages due to
        bodily injury to one person; and
   2.	subject to the “each person” limit, the amount shown for “each accident” is the most
        we will pay for all damages due to bodily injury sustained by two or more persons
        in any one accident.

   The “each person” limit of liability includes the total of all claims made for bodily injury
   to an insured person and all claims of others derived from such bodily injury, includ-
   ing, but not limited to, emotional injury or mental anguish resulting from the bodily in-
   jury of another or from witnessing the bodily injury to another, loss of society, loss of
   companionship, loss of services, loss of consortium, and wrongful death.

   If the declarations page shows that “combined single limit” or “CSL” applies, the
   amount shown is the most we will pay for the total of all damages resulting from any
   one accident. However, without changing this total limit of liability, we will comply with
   any law that requires us to provide any separate limits.

   The limits of liability under this Part III(A) will be reduced by all sums:
   1.	paid because of bodily injury by or on behalf of any persons or organizations that
       may be legally responsible;
   2.	paid under Part I—Liability To Others; and
   3.	paid, and the present value of all amounts payable, because of bodily injury under
       any workers’ compensation law.

   The damages an insured person is entitled to recover under this Part III(A) shall be
   reduced by all sums paid or payable under any valid and collectible automobile medical
   payments insurance available to the insured person including, but not limited to, all
   sums paid or payable under this policy’s Part II—Medical Payments Coverage.

   No one will be entitled to duplicate payments for the same elements of damages.

   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.

   OTHER INSURANCE

   If there is other applicable uninsured or underinsured motorist coverage, the damages
   an insured person is entitled to recover under this Part III(A) shall be deemed not to
   exceed the highest limit of any applicable coverage. We will pay only our share of the
   damages. Our share is the proportion that our limit of liability bears to the total of all
                                               13
    available coverage limits.
0-cv-04579-VAP-SK              However, any
                            Document      1-1    Filedwe
                                            insurance    provide withPage
                                                       05/21/20       respect19
                                                                              to a
                                                                                 ofvehicle
                                                                                    41 Pag
     that is not a covered auto will be excess over any other uninsured or underinsured
     motorist coverage.

     ARBITRATION

     If we and an insured person cannot agree on:
     1.	the legal liability of the operator or owner of an uninsured motor vehicle or under-
          insured motor vehicle; or
     2.	the amount of the damages sustained by the insured person;
     this will be determined by arbitration. If the accident involves an uninsured motor ve-
     hicle, any demand for arbitration must be made within two years of the date of the
     accident. If the accident involves an underinsured motor vehicle, the demand must
     be made after all applicable bodily injury liability bonds or policies have been exhausted
     by payment of judgments or settlements and prior to the expiration of the bodily injury
     statute of limitations in the state in which the accident occurred. An insured person de-
     manding arbitration must send written notice to us, or our agent for process, by certified
     mail, return receipt requested.

     In the event of arbitration, arbitration shall be conducted by a single neutral arbitrator.
     The costs and fees of the arbitrator will be shared equally.

     Unless both parties agree otherwise, arbitration will take place in the county in which
     the insured person resides. Local rules of procedure and evidence will apply.

     A decision by the arbitrator will be binding with respect to a determination of:
     1.	the legal liability of the operator or owner of an uninsured motor vehicle or under-
         insured motor vehicle; and
     2.	the amount of the damages sustained by the insured person.
     The arbitrator will have no authority to award an amount in excess of the limit of liability.

         PART III(B)—UNINSURED MOTORIST PROPERTY DAMAGE COVERAGE

     INSURING AGREEMENT—UNINSURED MOTORIST
     PROPERTY DAMAGE COVERAGE

     If you pay the premium for this coverage, we will pay for property damage caused by
     the owner or operator of an uninsured motor vehicle that:
     1. is caused by an accident; and
     2. arises out of the ownership, maintenance or use of an uninsured motor vehicle.

     INSURING AGREEMENT—UNINSURED MOTORIST
     COLLISION DEDUCTIBLE WAIVER COVERAGE

     If you pay both the premium for this coverage and the premium for Collision Coverage
     under Part IV—Damage To A Vehicle for the same covered auto, we will pay your
     Collision Coverage deductible for that covered auto if involved in an accident that:
     1. is caused by the owner or operator of an uninsured motor vehicle; and
                                                  14
    2. arises out of the ownership,
0-cv-04579-VAP-SK          Document maintenance,
                                        1-1 Filedor use of an uninsured
                                                      05/21/20     Page motor
                                                                         20 ofvehicle.
                                                                                41 Pag
    We will pay for replacement of a child passenger restraint system meeting applicable
    federal motor vehicle safety standards that was damaged in, or being used by a child
    in a covered auto at the time of, an accident for which Uninsured Motorist Property
    Damage Coverage applies due to the liability of the owner or operator of an uninsured
    motor vehicle.

    The owner or operator of the uninsured motor vehicle must be identified or the un-
    insured motor vehicle must be identified by its license number. You, or someone on
    your behalf, must notify us, or one of our agents or brokers, of any accident resulting in
    property damage within 10 business days from the date of the accident.

    Any judgment or settlement for damages against an owner or operator of an uninsured
    motor vehicle that arises out of a lawsuit brought without our written consent is not
    binding on us.

    ADDITIONAL DEFINITIONS

    When used in this Part III(B):
    1.	“Property damage” means physical damage to, or destruction of, a covered auto
        caused by actual, direct physical contact with an uninsured motor vehicle. It does
        not include loss of use of the covered auto.
    2. “Uninsured motor vehicle” means a land motor vehicle or trailer of any type:
        a.	to which no property damage liability bond or policy applies at the time of the
             accident;
        b.	to which a property damage liability bond or policy applies at the time of the
             accident, but the bonding or insuring company:
    		(i) denies coverage;
    		 (ii)	refuses to admit coverage except conditionally or under a reservation of
                   rights; or
    		       (iii) is insolvent, or becomes so within one year of the accident; or
        c.	that is used without the owner’s permission if there is no property damage li-
             ability insurance or bond applicable at the time of the accident with respect to
             the owner or operator of the vehicle.

        An “uninsured motor vehicle” does not include any vehicle or equipment:
        a.	owned or operated by you or a relative or furnished or available for the regular
            use of you or a relative;
        b.	owned or operated by a self-insurer under any applicable motor vehicle law,
            except a self-insurer that is or becomes insolvent;
        c. owned by any governmental unit or agency;
        d. operated on rails or crawler treads;
        e. designed mainly for use off public roads, while not on public roads;
        f. while located for use as a residence or premises;
        g.	expressly identified by make, model and serial number on the declarations
            page of this policy; or
                                               15
       h.	that has at leastDocument
0-cv-04579-VAP-SK           the minimum property
                                        1-1 Fileddamage liability limits
                                                     05/21/20            required
                                                                      Page     21byofVehicle
                                                                                      41 Pag
              Code § 16056, even if the property damage liability limits are not sufficient to
              compensate for all property damage caused by the owner or operator of the
              vehicle.

     EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
     EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
     PART III(B).

     Coverage under this Part III(B) will not apply:
     1. to any punitive or exemplary damages;
     2.	to property damage to a motor vehicle operated by a person excluded from cover-
         age under this policy under a Named Driver Exclusion Election;
     3. to property damage to a trailer;
     4.	to property damage if there is no actual, direct physical contact between the un-
         insured motor vehicle and the covered auto;
     5.	to property damage unless the owner or operator of the uninsured motor vehi-
         cle, or the license plate number of the uninsured motor vehicle, can be identified;
         or
     6.	to property damage arising out of the use of a covered auto while used in con-
         nection with a personal vehicle sharing program or other similar program which en-
         gages in the business of facilitating the sharing of private passenger motor vehicles.

     LIMITS OF LIABILITY

     The limit of liability shown on the declarations page for Uninsured Motorist Property
     Damage Coverage is the most we will pay regardless of the number of:
     1. claims made;
     2. covered autos;
     3. lawsuits brought;
     4. vehicles involved in the accident; or
     5. premiums paid.

     The amount shown on the declarations page for “property damage” is the most we will
     pay for the aggregate of all property damage caused by any one accident.

     Our Limit of Liability under this Part III(B) for property damage to a covered auto aris-
     ing out of one accident is the lowest of:
     1. the actual cash value of the covered auto at the time of the accident;
     2. the amount necessary to replace the covered auto;
     3. the amount necessary to repair the covered auto to its pre-loss condition;
     4.	any Limit of Liability shown on the declarations page for “property damage” under
          this Part III(B); or
     5.	the amount of the deductible for Collision Coverage shown on the declarations
          page.This subpart only applies if you have paid the premium for Collision Coverage
          under Part IV—Damage To A Vehicle.
                                                16
    Our Limit of Liability for Uninsured
0-cv-04579-VAP-SK              Document  Motorist
                                            1-1 Collision
                                                  Filed Deductible
                                                          05/21/20Waiver
                                                                    Page Coverage
                                                                           22 of under
                                                                                  41 Pag
    this Part III(B) for property damage to a covered auto arising out of any one accident
    is the lower of:
    1. the amount of the loss; or
    2.	the amount of the Collision Coverage deductible shown on the declarations page
         for the covered auto that is involved in the accident.

    Payments for property damage under this Part III(B) are subject to an adjustment for
    depreciation and physical condition; such adjustment will be made in determining the
    Limit of Liability at the time of the accident.

    No one will be entitled to duplicate payments for the same elements of damages.

    OTHER INSURANCE

    If there is other applicable uninsured motorist property damage coverage, we will pay
    only our share of the damages. Our share is the proportion that our limit of liability
    bears to the total of all available coverage limits.

    ARBITRATION

    If we and an insured person cannot agree on:
    1. the legal liability of the operator or owner of an uninsured motor vehicle; or
    2. the amount of the property damage sustained by the insured person;
    this will be determined by arbitration. Any demand for arbitration must be made within
    one year from the date of the accident.

    In the event of arbitration, arbitration shall be conducted by a single neutral arbitrator.
    The costs and fees of the arbitrator will be shared equally.

    Unless both parties agree otherwise, arbitration will take place in the county in which
    the insured person resides. Local rules of procedure and evidence will apply.

    A decision by the arbitrator will be binding with respect to a determination of:
    1.	the legal liability of the operator or owner of an uninsured motor vehicle; and
    2. the amount of the property damage sustained by the insured person.
    The arbitrator will have no authority to award an amount in excess of the limit of liability.

                              PART IV—DAMAGE TO A VEHICLE

    INSURING AGREEMENT—COLLISION COVERAGE

    If you pay the premium for this coverage, we will pay for sudden, direct and accidental
    loss to a:
    1.	 covered auto, including an attached trailer; or
    2.	 non-owned auto;
    and its custom parts or equipment, resulting from collision.
                                                 17
    In addition, this coverage
0-cv-04579-VAP-SK              will pay for replacement
                             Document        1-1 Filedof05/21/20
                                                        a child passenger
                                                                     Page restraint
                                                                             23 ofsystem
                                                                                    41 Pag
     meeting applicable federal motor vehicle safety standards that was damaged in, or be-
     ing used by a child in a covered auto or non-owned auto at the time of, a collision to
     which this coverage applies.

     INSURING AGREEMENT—COMPREHENSIVE COVERAGE

     If you pay the premium for this coverage, we will pay for sudden, direct and accidental
     loss to a:
     1.	 covered auto, including an attached trailer; or
     2.	 non-owned auto;
     and its custom parts or equipment, that is not caused by collision.

     A loss not caused by collision includes:
     1.	contact with an animal (including a bird);
     2.	explosion or earthquake;
     3.	fire;
     4.	malicious mischief or vandalism;
     5.	missiles or falling objects;
     6.	riot or civil commotion;
     7.	theft or larceny;
     8.	windstorm, hail, water or flood; or
     9.	breakage of glass not caused by collision.

     In addition, this coverage will pay for replacement of a child passenger restraint system
     meeting applicable federal motor vehicle safety standards that was damaged in, or
     being used by a child at the time of, a sudden, direct and accidental loss to a covered
     auto or non-owned auto that is not caused by collision and to which loss this cover-
     age applies.

     Also, we will pay for:
     1.	reasonable transportation expenses incurred by you if a covered auto is stolen; and
     2.	loss of use damages that you are legally liable to pay if a non-owned auto is stolen.
     A combined maximum of $900, not exceeding $30 per day, will apply to these addi-
     tional benefits. The additional benefit for transportation expenses will not apply if you
     purchased Rental Reimbursement Coverage for the stolen covered auto.

     Coverage for transportation expenses and loss of use damages begins 48 hours after
     you report the theft to us and ends the earliest of:
     1.	when the auto has been recovered and returned to you or its owner;
     2.	when the auto has been recovered and repaired;
     3.	when the auto has been replaced; or
     4.	72 hours after we make an offer to settle the loss if the auto is deemed by us to be
         a total loss.

     We must receive written proof of transportation expenses and loss of use damages.
                                                18
    INSURING AGREEMENT—ADDITIONAL
0-cv-04579-VAP-SK                 CUSTOM
                    Document 1-1 Filed    PARTS Page 24 of 41 Pag
                                       05/21/20
   OR EQUIPMENT COVERAGE

   We will pay for sudden, direct and accidental loss to custom parts or equipment on a
   covered auto for which this coverage has been purchased. This coverage applies only
   if you have purchased both Comprehensive Coverage and Collision Coverage for that
   covered auto and the loss is covered under one of those coverages. This coverage
   applies in addition to any coverage automatically provided for custom parts or equip-
   ment under Comprehensive Coverage or Collision Coverage.

   INSURING AGREEMENT—RENTAL REIMBURSEMENT COVERAGE

   We will reimburse rental charges incurred when you rent an auto from a rental agency
   or auto repair shop due to a loss to a covered auto for which Rental Reimbursement
   Coverage has been purchased. This coverage applies only if you have purchased both
   Comprehensive Coverage and Collision Coverage for that covered auto and the loss
   is covered under one of those coverages.

   Additional fees or charges for insurance, damage waivers, optional equipment, fuel, or
   accessories are not covered.

   This coverage is limited to the each day limit shown on the declarations page for a
   maximum of 30 days.

   If Rental Reimbursement Coverage applies, no other coverage under this policy for
   rental expenses will apply.

   Rental charges will be reimbursed beginning:
   1.	when the covered auto cannot be driven due to a loss; or
   2.	if the covered auto can be driven, when you deliver the covered auto to an auto
       repair shop or one of our Service Centers for repairs due to the loss;
   and ending the earliest of:
   1.	when the covered auto has been returned to you;
   2.	when the covered auto has been repaired;
   3.	when the covered auto has been replaced;
   4.	72 hours after we make an offer to settle the loss if the covered auto is deemed by
       us to be a total loss; or
   5.	when you incur 30 days worth of rental charges.

   You must provide us written proof of your rental charges to be reimbursed.

   INSURING AGREEMENT—LOAN/LEASE PAYOFF COVERAGE

   If you pay the premium for this coverage, and the covered auto for which this cover-
   age was purchased is deemed by us to be a total loss, we will pay, in addition to any
   amounts otherwise payable under this Part IV, the difference between:
   1.	the actual cash value of the covered auto at the time of the total loss; and
                                             19
    2.	any greater amountDocument
0-cv-04579-VAP-SK                       1-1covered
                          the owner of the    Filedauto is legally obligated
                                                    05/21/20        Page 25  to pay
                                                                                 of under
                                                                                    41 Pag
         a written loan or lease agreement to which the covered auto is subject at the time
         of the total loss, reduced by:
         a.	unpaid finance charges or refunds due to the owner for such charges;
         b.	excess mileage charges or charges for wear and tear;
         c.	charges for extended warranties or refunds due to the owner for extended war-
              ranties;
         d.	charges for credit insurance or refunds due to the owner for credit insurance;
         e.	past due payments and charges for past due payments; and
         f.	collection or repossession expenses.

     However, our payment under this coverage shall not exceed the limit of liability shown
     on the declarations page. The limit of liability is a percentage of the actual cash value
     of the covered auto at the time of the loss.

     This coverage applies only if you have purchased both Comprehensive Coverage and
     Collision Coverage for that covered auto and the loss is covered under one of those
     coverages.

     INSURING AGREEMENT—PET INJURY COVERAGE

     If you have purchased Collision coverage for at least one covered auto under your
     policy, and if your pet sustains injury or death while inside a covered auto or non-
     owned auto at the time of a loss covered under Collision or Comprehensive coverage,
     we will provide:
     1.	up to $1,000 for reasonable and customary veterinary fees incurred by you, a rela-
          tive, or a rated resident if your pet is injured in, or as a direct result of, the covered
          loss; or
     2.	a $1,000 death benefit if your pet dies in, or as a direct result of, the covered loss,
          less any payment we made toward veterinary expenses for your pet.
     In the event of a covered loss due to the theft of a covered auto or non-owned auto,
     we will provide the death benefit provided your pet is inside that auto at the time of the
     theft and your pet is not recovered.

     ADDITIONAL DEFINITIONS

     When used in this Part IV:
     1.	“Collision” means the upset of a vehicle or its impact with another vehicle or object.
     2.	“Custom parts or equipment” means equipment, devices, accessories, en-
         hancements and changes, other than those that are offered by the manufacturer
         specifically for that auto model, or that are installed by the auto dealership as part
         of the original sale of a new auto, that:
         a.	are permanently installed or attached; and
         b.	alter the appearance or performance of the auto.
     3.	“Mechanical parts” means operational parts on a vehicle that wear out over time
         or have a finite useful life or duration typically shorter than the life of the vehicle as
                                                   20
       a whole. Mechanical
0-cv-04579-VAP-SK          parts do not
                        Document     1-1include external
                                             Filed       crash parts,
                                                    05/21/20     Page wheels,
                                                                         26 ofpaint,
                                                                                41 or Pag
         windshields and other glass.
     4.	“Non-owned auto” means an auto that is not owned by or furnished or available
         for the regular use of you, a relative, or a rated resident while in the custody of or
         being operated by you, a relative, or a rated resident with the permission of the
         owner of the auto or the person in lawful possession of the auto.
     5.	“Your pet” means any dog or cat owned by you, a relative, or a rated resident.

     EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
     CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART IV.

     Coverage under this Part IV will not apply for loss:
     1.	to any vehicle while being used:
         a.	to carry persons or property for compensation or a fee; or
         b.	for retail or wholesale delivery, including, but not limited to, the pickup, transport
              or delivery of magazines, newspapers, mail or food.
         This exclusion does not apply to shared-expense car pools;
     2.	to a non-owned auto while being maintained or used by a person while employed
         or engaged in any auto business;
     3.	to any vehicle resulting from, or sustained during practice or preparation for:
         a.	any pre-arranged or organized racing, stunting, speed or demolition contest or
              activity; or
         b.	any driving activity conducted on a permanent or temporary racetrack or race-
              course;
     4.	to any vehicle for which insurance:
         a.	is afforded under a nuclear energy liability insurance contract; or
         b.	would be afforded under a nuclear energy liability insurance contract but for its
              termination upon exhaustion of its limit of liability;
     5.	to any vehicle caused by an intentional act committed by or at the direction of you,
         a relative, a rated resident, or the owner of a non-owned auto, even if the actual
         damage is different than that which was intended or expected;
     6.	to a covered auto while it is leased or rented to others or given in exchange for
         compensation. This exclusion does not apply to the operation of a covered auto by
         you, a relative, or a rated resident;
     7.	due to destruction or confiscation by governmental or civil authorities of any vehicle
         because you, any relative, or any rated resident engaged in illegal activities;
     8.	to any vehicle that is due and confined to:
         a.	wear and tear;
         b.	freezing;
         c.	mechanical, electrical or electronic breakdown or failure; or
         d.	road damage to tires.
         This exclusion does not apply if the damage results from the theft of a vehicle;
     9.	to portable equipment, devices, accessories, and any other personal effects that
         are not permanently installed. This includes, but is not limited to:
         a.	tapes, compact discs, cassettes, DVDs, and other recording or recorded media;
         b.	any case or other container designed for use in storing or carrying tapes, com-
              pact discs, cassettes, DVDs, or other recording or recorded media;
                                                  21
       c.	any device used
0-cv-04579-VAP-SK          for the detection
                        Document       1-1 or  location
                                             Filed      of radar, laser,
                                                    05/21/20       Pageor 27
                                                                          other
                                                                             of speed
                                                                                 41 Pag
               measuring equipment or its transmissions; and
         d.	CB radios, telephones, two-way mobile radios, DVD players, personal comput-
               ers, personal digital assistants, or televisions;
    10.	to any vehicle for diminution of value;
    11.	to any vehicle caused directly or indirectly by:
         a.	war (declared or undeclared) or civil war;
         b.	warlike action by any military force of any government, sovereign, or other
               authority using military personnel or agents. This includes any action taken to
               hinder or defend against an actual or expected attack; or
         c.	insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
               ernmental authority to hinder or defend against any of these acts;
    12.	to any vehicle caused directly or indirectly by:
         a.	any accidental or intentional discharge, dispersal or release of radioactive,
               nuclear, pathogenic or poisonous biological material; or
         b.	any intentional discharge, dispersal or release of chemical or hazardous mate-
               rial for any purpose other than its safe and useful purpose;
    13.	to any vehicle caused by, or reasonably expected to result from, a criminal act or
         omission of you, a relative, a rated resident, or the owner of a non-owned auto.
         This exclusion applies regardless of whether you, the relative, the rated resident,
         or the owner of the non-owned auto is actually charged with, or convicted of, a
         crime. For purposes of this exclusion, criminal acts or omissions do not include traf-
         fic violations; or
    14.	to a covered auto while used in connection with a personal vehicle sharing pro-
         gram or other similar program which engages in the business of facilitating the
         sharing of private passenger motor vehicles.

    LIMITS OF LIABILITY

    1.	The limit of liability for loss to a covered auto, non-owned auto, or custom parts
        or equipment is the lowest of:
        a.	the actual cash value of the stolen or damaged property at the time of the loss
            reduced by the applicable deductible;
        b.	the amount necessary to replace the stolen or damaged property reduced by
            the applicable deductible;
        c.	the amount necessary to repair the damaged property to its pre-loss condition
            reduced by the applicable deductible; or
        d.	the Stated Amount shown on the declarations page for that covered auto.
        However, the most we will pay for loss to:
        a.	custom parts or equipment is $1,000 unless you purchased Additional
            Custom Parts or Equipment Coverage (“ACPE”). If you purchased ACPE, the
            most we will pay is $1,000 plus the amount of ACPE you purchased.
        b.	a trailer is the limit of liability shown on the declarations page for that trailer.
            If the trailer is not shown on the declarations page, the limit of liability is $500.
    2.	Payments for loss to a covered auto, non-owned auto, or custom parts or
        equipment are subject to the following provisions:
        a.	If coverage applies to a non-owned auto, we will provide the broadest cover-
            age applicable to any covered auto shown on the declarations page.
                                                 22
       b.	If you have elected
0-cv-04579-VAP-SK              a Stated 1-1
                          Document      Amount
                                            Filed    covered auto,Page
                                               for a 05/21/20      the Stated
                                                                         28 ofAmount
                                                                               41 Pag
            is the most we will pay for all loss to that covered auto, including its custom
            parts or equipment.
        c.	Coverage for custom parts or equipment will not cause our limit of liability
            for loss to an auto under this Part IV to be increased to an amount in excess of
            the actual cash value of the auto, including its custom parts or equipment.
        d.	In determining the amount necessary to repair damaged property to its pre-
            loss condition, the amount to be paid by us:
    		 (i)	will not exceed the prevailing competitive labor rates charged in the area
                  where the property is to be repaired and the cost of repair or replacement
                  parts and equipment, as reasonably determined by us; and
    		 (ii)	will be based on the cost of repair or replacement parts and equipment
                  which may be new, reconditioned, remanufactured or used, including, but
                  not limited to:
    			           (a)	original manufacturer parts or equipment; and
    			           (b)	nonoriginal manufacturer parts or equipment.
        e.	To determine the amount necessary to repair or replace the damaged prop-
            erty as referred to in subsection 1., the total cost of necessary repair or replace-
            ment may be reduced by unrepaired prior damage. Unrepaired prior damage
            includes broken, cracked or missing parts; rust; dents; scrapes; gouges; and
            peeling paint. The reduction for unrepaired prior damage is the cost of labor,
            parts and materials necessary to repair or replace damage, deterioration, de-
            fects, or wear and tear on exterior body parts, windshields and other glass,
            wheels, and paint, that existed prior to the accident and that is eliminated as a
            result of the repair or replacement of property damaged in the loss.
        f.	To determine the amount necessary to repair or replace the damaged prop-
            erty as referred to in subsection 1., an adjustment may be made for betterment
            or depreciation and physical condition on:
    		(i)	       batteries;
    		(ii)	      tires;
    		 (iii)	engines and transmissions, if the engine has greater than 80,000 miles;
                  and
    		(iv)	      any other mechanical parts that are nonfunctioning or inoperative.
    		     We will not make an adjustment for the labor costs associated with the re-
            placement or repair of these parts.
        g.	The actual cash value is determined by the market value, age, and condition
            of the vehicle at the time the loss occurs.
        h.	Any amount paid or payable to a person under this Part IV shall be reduced by
            any amount paid for property damage under Part III(B)—Uninsured Motorist
            Property Damage Coverage.
    3.	No deductible will apply to a loss to window glass when the glass is repaired in-
        stead of replaced.
    4.	Duplicate recovery for the same elements of damages is not permitted.
    5.	The following additional limits of liability apply to Pet Injury coverage:
        a.	The most we will pay for all damages in any one loss is a total of $1,000 re-
            gardless of the number of dogs or cats involved.
                                                23
       b.	If your pet dies
0-cv-04579-VAP-SK           in, or as a direct
                          Document       1-1 result
                                               Filedof,05/21/20
                                                        a covered loss,
                                                                    Pagewe will
                                                                           29 provide
                                                                                of 41 a Pag
             death benefit of $1,000, less any payment we made toward veterinary ex-
             penses for your pet.
         c.	No deductible shall apply to this coverage.

     PAYMENT OF LOSS

     We may, at our option:
     1.	pay for the loss in money; or
     2.	repair or replace the damaged or stolen property.

     At our expense, we may return any recovered stolen property to you or to the address
     shown on the declarations page, with payment for any damage resulting from the theft.
     We may keep all or part of the property at the agreed or appraised value.

     We may settle any loss with you or the owner or lienholder of the property.

     NO BENEFIT TO BAILEE

     Coverage under this Part IV will not directly or indirectly benefit any carrier or other
     bailee for hire.

     LOSS PAYABLE CLAUSE

     Payment under this Part IV for a loss to a covered auto will be made according to
     your interest and the interest of any lienholder shown on the declarations page or
     designated by you. At our option, payment may be made to both jointly, or to either
     separately. However, if the covered auto is not a total loss, we may make payment to
     you and the repairer of the auto.

     The lienholder’s interest will not be protected:
     1.	where fraud, misrepresentation, material omission, or intentional damage resulting
           in a denial of coverage by us has been committed by or at the direction of you or
           any person seeking coverage; or
     2.	where the loss is otherwise not covered under the terms of this policy.
     If this policy is cancelled, nonrenewed or voided, the interest of any lienholder under this
     agreement will also terminate.

     OTHER SOURCES OF RECOVERY

     If other sources of recovery also cover the loss, we will pay only our share of the loss.
     Our share is the proportion that our limit of liability bears to the total of all applicable
     limits. However, any insurance we provide for a non-owned auto, or trailer not shown
     on the declarations page, will be excess over any other collectible source of recovery
     including, but not limited to:
     1.	any coverage provided by the owner of the non-owned auto or trailer;
                                                 24
    2.	any other applicableDocument
0-cv-04579-VAP-SK            physical damage
                                         1-1 insurance; and
                                               Filed 05/21/20 Page 30 of 41 Pag
    3.	any other source of recovery applicable to the loss.

    APPRAISAL

    If we cannot agree with you on the amount of a loss, then we or you may demand
    an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
    shall appoint a competent appraiser and shall notify the other party of that appraiser’s
    identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
    agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
    appraisers are unable to agree upon an umpire within 15 days, we or you may request
    that a judge of a court of record, in the county where you reside, select an umpire. The
    appraisers and umpire will determine the amount of loss. The amount of loss agreed
    to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
    your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses. All
    other expenses of the appraisal, including payment of the umpire if one is selected, will
    be shared equally between us and you. Neither we nor you waive any rights under this
    policy by agreeing to an appraisal.

                      PART V—ROADSIDE ASSISTANCE COVERAGE

    INSURING AGREEMENT

    If you pay the premium for this coverage, we will pay for our authorized service represen-
    tative to provide the following services when necessary due to a covered emergency:
    1.	towing of a covered disabled auto to the nearest qualified repair facility; and
    2.	labor on a covered disabled auto at the place of disablement.

    If a covered disabled auto is towed to any place other than the nearest qualified repair
    facility, you will be responsible for any additional charges incurred.

    ADDITIONAL DEFINITIONS

    When used in this Part V:
    1.	“Covered disabled auto” means a covered auto for which this coverage has
        been purchased that sustains a covered emergency.
    2.	“Covered emergency” means a disablement that is a result of:
        a.	mechanical or electrical breakdown;
        b.	battery failure;
        c.	insufficient supply of fuel, oil, water, or other fluid;
        d.	flat tire;
        e.	lock-out; or
        f.	entrapment in snow, mud, water or sand within 100 feet of a road or highway.



                                                25
    EXCLUSIONS—READDocument
0-cv-04579-VAP-SK  THE FOLLOWING EXCLUSIONS
                            1-1 Filed       CAREFULLY.
                                      05/21/20 Page 31IFof
                                                        AN41
                                                           EX- Pag
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART V.

   Coverage under this Part V will not apply to:
   1.	more than three covered emergencies for any single covered auto in a six-month
        period;
   2.	the cost of purchasing parts, fluid, lubricants, fuel, or replacement keys, or the labor
        to make replacement keys;
   3.	installation of products or material not related to the disablement;
   4.	labor not related to the disablement;
   5.	labor on a covered disabled auto for any time period in excess of 60 minutes per
        disablement;
   6.	towing or storage related to impoundment, abandonment, illegal parking, or other
        violations of law;
   7.	assistance with jacks, levelers, airbags or awnings;
   8.	labor or repair work performed at a service station, garage, or repair shop;
   9.	auto storage charges;
   10.	disablement that occurs on roads not regularly maintained, sand beaches, open
        fields, or areas designated as not passable due to construction, weather, or earth
        movement;
   11.	mounting or removing of snow tires or chains;
   12.	tire repair;
   13.	disablement that results from an intentional or willful act or action by you, a rela-
        tive, or the operator of a covered disabled auto;
   14.	a trailer; or
   15.	a covered auto while used in connection with a personal vehicle sharing program
        or other similar program which engages in the business of facilitating the sharing of
        private passenger motor vehicles.

   UNAUTHORIZED SERVICE PROVIDER

   When service is rendered by a provider in the business of providing roadside assistance
   and towing services, other than one of our authorized service representatives, we will
   pay only reasonable charges, as determined by us, for:
   1.	towing of a covered disabled auto to the nearest qualified repair facility; and
   2.	labor on a covered disabled auto at the place of disablement;
   which is necessary due to a covered emergency.

   OTHER INSURANCE

   Any coverage provided under this Part V for service rendered by an unauthorized ser-
   vice provider will be excess over any other collectible insurance or towing protection
   coverage.



                                               26
            PART VI—DUTIES
0-cv-04579-VAP-SK          IN CASE
                    Document   1-1 OF AN ACCIDENT
                                    Filed 05/21/20ORPage
                                                     LOSS32 of 41 Pag

   For coverage to apply under this policy, you or the person seeking coverage must
   promptly report each accident or loss even if you or the person seeking coverage is not
   at fault. You or the person seeking coverage must provide us with all accident or loss
   information, including time, place, and how the accident or loss happened. You or the
   person seeking coverage must also obtain and provide us the names and addresses of
   all persons involved in the accident or loss, the names and addresses of any witnesses,
   and the license plate numbers of the vehicles involved.

   If you or the person seeking coverage cannot identify the owner or operator of a vehicle
   involved in the accident, or if theft or vandalism has occurred, you or the person seeking
   coverage must notify the police within 24 hours or as soon as practicable.

   A person seeking coverage must:
   1.	cooperate with us in any matter concerning a claim or lawsuit;
   2.	provide any written proof of loss we may reasonably require;
   3.	allow us to take signed and recorded statements, including sworn statements and
       examinations under oath, which we may conduct outside the presence of you or
       any other person seeking coverage, and answer all reasonable questions we may
       ask as often as we may reasonably require;
   4.	promptly call to notify us about any claim or lawsuit and send us any and all legal
       papers relating to the claim or suit;
   5.	attend hearings and trials as we require;
   6.	take reasonable steps after a loss to protect the covered auto, or any other vehicle
       for which coverage is sought, from further loss. We will pay reasonable expenses
       incurred in providing that protection. If failure to provide such protection results in
       further loss, any additional damages will not be covered under this policy;
   7.	allow us to have the damaged covered auto, or any other damaged vehicle for
       which coverage is sought, inspected and appraised before its repair or disposal;
   8.	submit to medical examinations at our expense by doctors we select as often as
       we may reasonably require; and
   9.	authorize us to obtain medical and other records.

                            PART VII—GENERAL PROVISIONS

   POLICY PERIOD AND TERRITORY

   This policy applies only to accidents and losses occurring during the policy period
   shown on the declarations page and that occur within a state, territory or possession
   of the United States of America, or a province or territory of Canada, or while a covered
   auto is being transported between their ports.

   CHANGES

   This policy contract, your insurance application (which is made a part of this policy as if
   attached hereto), the declarations page, and all endorsements to this policy issued by
                                               27
    us, contain all the agreements
0-cv-04579-VAP-SK                  between
                             Document      you Filed
                                         1-1   and us.05/21/20
                                                       Subject to thePage
                                                                      following,
                                                                             33 the
                                                                                 of terms
                                                                                    41 Pag
     of this policy may not be changed or waived except by an endorsement issued by us.

     The premium for this policy is based on information we received from you and other
     sources. You agree to cooperate with us in determining if this information is correct and
     complete, and to promptly notify us if it changes during the policy period. If this informa-
     tion is determined by us to be incorrect, incomplete, or if it changes during the policy
     period, you agree that we may adjust your policy information and premium accordingly.
     Changes that may result in a premium increase or decrease are contained in our rates
     and rules. These include, but are not limited to, you, a relative, or a rated resident
     obtaining a driver’s license or operator’s permit, or changes in:
     1.	 the number, type or use classification of covered autos. Commercial use is
          prohibited except to the extent allowed by rules we have filed with the California
          Department of Insurance;
     2.	the persons who regularly operate a covered auto;
     3.	the persons of legal driving age residing in your household;
     4.	the residents in your household;
     5.	an operator’s marital status;
     6.	 your mailing address and your residence address;
     7.	the principal garaging address of any covered auto;
     8.	coverage, deductibles, or limits of liability; or
     9.	rating territory or discount eligibility.

     In addition, we may increase the premium for this policy based on:
     1.	accident involvement by an insured person, and whether the insured person is at
          fault in the accident;
     2.	convictions for violating any provision of the Vehicle Code or the Penal Code relat-
          ing to the operation of a motor vehicle;
     3. the payment we make due to a claim filed on this policy; or
     4.	any other reason not otherwise specified in this Changes provision that is both law-
          ful and not unfairly discriminatory.

     The coverage provided in your policy may be changed only by the issuance of a new
     policy or an endorsement by us. However, if during the policy period we broaden any
     coverage afforded under the current edition of your policy without additional premium
     charge, that change will automatically apply to your policy as of the date the coverage
     change is implemented in your state.

     If you ask us to delete a vehicle from this policy, no coverage will apply to that vehicle
     as of the date and time you ask us to delete it.

     If there is unearned premium generated by an amendment or endorsement removing
     or reducing coverage for an insured person or property, it will first be applied to any bal-
     ance owed on the policy as a whole.


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    DUTY TO REPORT CHANGES
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   You must promptly report to us all changes, including additions and deletions, in policy
   information. Further, you must report to us certain changes no later than 30 days after
   the change occurs. These are changes to:
   1.	 your mailing address or your residence address;
   2.	the principal garaging address of any covered auto;
   3.	the residents in your household;
   4.	the persons of legal driving age residing in your household;
   5.	the persons who regularly operate a covered auto;
   6.	an operator’s marital status; or
   7.	the driver’s license or operator’s permit status of you, a relative, or a rated resident.

   Your failure to comply with this duty, where material to the risk of loss, may result in our
   denial of coverage for a claim.

   SETTLEMENT OF CLAIMS

   We may use estimating, appraisal, or injury evaluation systems to assist us in adjust-
   ing claims under this policy and to assist us in determining the amount of damages,
   expenses, or loss payable under this policy. Such systems may be developed by us or a
   third party and may include computer software, databases, and specialized technology.

   TERMS OF POLICY CONFORMED TO STATUTES

   If any provision of this policy fails to conform to the statutes of the state listed on your
   application as your residence, the provision shall be deemed amended to conform to
   such statutes. All other provisions shall be given full force and effect. Any disputes as to
   the coverages provided or the provisions of this policy shall be governed by the law of
   the state listed on your application as your residence.

   TRANSFER OF INTEREST

   The rights and duties under this policy may not be transferred to another person without
   our written consent. However, if a named insured shown on the declarations page
   dies, this policy will provide coverage until the end of the policy period for the legal rep-
   resentative of the named insured, while acting as such, and for persons covered under
   this policy on the date of the named insured’s death.

   FRAUD OR MISREPRESENTATION

   This policy was issued in reliance upon the information provided on your insurance
   application. We may void this policy at any time, including after the occurrence of an
   accident or loss, if you:
   1.	made incorrect statements or representations to us with regard to any material fact
       or circumstance;
   2.	concealed or misrepresented any material fact or circumstance; or
                                                29
    3.	engaged in fraudulent
0-cv-04579-VAP-SK             conduct; 1-1 Filed 05/21/20 Page 35 of 41 Pag
                          Document
    at the time of application. This means that we will not be liable for any claims or dam-
    ages that would otherwise be covered. However, if we make a payment, the insured
    person must reimburse us.

    Any changes we make at your request to this policy after inception will be made in reli-
    ance upon information you provide. If you:
    1.	make incorrect statements or representations to us with regard to any material fact
         or circumstance;
    2.	conceal or misrepresent any material fact or circumstance; or
    3.	engage in fraudulent conduct;
    in connection with a requested change we may void the policy or reform it as it existed
    immediately prior to the requested change. We may do this at any time, including after
    the occurrence of an accident or loss. However, if we make a payment, the insured
    person must reimburse us.

    When we have not voided or reformed the policy, we may still deny coverage for an
    accident or loss if you, in connection with the policy application, in connection with any
    requested change, or at any time during the policy period, have concealed or misrepre-
    sented any material fact or circumstance or engaged in fraudulent conduct and that con-
    cealment, misrepresentation, or fraudulent conduct was material to a risk we assumed.

    We may deny coverage for an accident or loss if you or a person seeking coverage has
    concealed or misrepresented any material fact or circumstance, or engaged in fraudu-
    lent conduct, in connection with the presentation or settlement of a claim.

    PAYMENT OF PREMIUM AND FEES

    If your initial premium payment is by check, draft, electronic funds transfer, or simi-
    lar form of remittance, coverage under this policy is conditioned on payment to us by
    the financial institution. If the financial institution upon presentment does not honor the
    check, draft, electronic funds transfer, or similar form of remittance, this policy may, at
    our option, be deemed void from its inception. This means we will not be liable under
    this policy for any claims or damages that would otherwise be covered if the check,
    draft, electronic funds transfer, or similar form of remittance had been honored by the
    financial institution. Any action by us to present the remittance for payment more than
    once shall not affect our right to void this policy.

    In addition to premium, fees may be charged on your policy. We may charge fees for
    installment payments, late payments, and other transactions. Payments made on your
    policy will be applied first to fees, then to premium due.

    CANCELLATION

    You may cancel this policy during the policy period by calling or writing us and stating
    the future date you wish the cancellation to be effective.
                                                30
    We may cancel this policy
0-cv-04579-VAP-SK             during the 1-1
                         Document        policy Filed
                                                period 05/21/20
                                                       by mailing a notice
                                                                     Pageof36
                                                                            cancellation
                                                                               of 41 Pag
    to the named insured shown on the declarations page at the last known address ap-
    pearing in our records.

    We will give at least 10 days notice of cancellation if the policy is cancelled for nonpay-
    ment of premium.

    We will give at least 20 days notice of cancellation in all other cases.

    We may cancel only for one or more of the following reasons:
    1.	nonpayment of premium;
    2.	fraud or material misrepresentation affecting the policy or an insured; or
    3.	a substantial increase in the hazard insured against.

    Proof of mailing will be sufficient proof of notice. If this policy is cancelled, coverage will
    not be provided as of the effective date and time shown in the notice of cancellation. For
    purposes of cancellation, this policy is neither severable nor divisible. Any cancellation
    will be effective for all coverages for all persons and all vehicles.

    CANCELLATION REFUND

    Upon cancellation, you may be entitled to a premium refund. However, our making or
    offering of a refund is not a condition of cancellation.

    If this policy is cancelled, any refund due will be computed on a daily pro rata basis.
    However, we will retain a cancellation fee if this policy is cancelled at your request or if
    cancellation is for nonpayment of premium.

    NONRENEWAL

    If neither we nor one of our affiliates offers to renew or continue this policy, we will mail
    notice of nonrenewal to the named insured shown on the declarations page at the
    last known address appearing in our records. Proof of mailing will be sufficient proof of
    notice. Notice will be mailed at least 30 days before the end of the policy period. If we
    fail to mail or deliver an offer of renewal or a notice of nonrenewal to you, your policy
    will remain in effect for 30 days from the date that either the offer to renew or the notice
    of nonrenewal is subsequently mailed or delivered to you.

    We may nonrenew for one or more of the following reasons:
    1. nonpayment of premium;
    2. fraud or material misrepresentation affecting the policy or an insured; or
    3. a substantial increase in the hazard insured against.




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    AUTOMATIC TERMINATION
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   1.	Coverage under this policy will terminate automatically if you do not accept
       our renewal offer.

   If we or an affiliate offers to renew or continue this policy and you or your representative
   does not accept, this policy will automatically terminate at the end of the current policy
   period. Failure to pay the required renewal or continuation premium when due will mean
   that you have not accepted our offer.

   2.	Coverage under this policy will terminate automatically when you obtain
       other insurance on a covered auto.

   If you obtain other insurance on a covered auto, any similar insurance displayed on
   the declarations page of this policy will terminate as to that covered auto on the effec-
   tive date of the other insurance.

   If a covered auto is sold or transferred to someone other than you or a relative, any
   insurance provided by this policy will terminate as to that covered auto on the effective
   date of the sale or transfer.

   LEGAL ACTION AGAINST US

   We may not be sued unless there is full compliance with all the terms of this policy.

   We may not be sued for payment under Part I—Liability To Others until the obligation of
   an insured person under Part I to pay is finally determined either by judgment after trial
   against that person or by written agreement of the insured person, the claimant, and us.
   No one will have any right to make us a party to a lawsuit to determine the liability of an
   insured person.

   We may not be sued for payment under Part III(A)—Uninsured/Underinsured Motorist
   Bodily Injury Coverage or Part III(B)—Uninsured Motorist Property Damage Coverage
   unless within two years from the date of the accident an insured person or his or her
   legal representative has:
   1.	filed suit for bodily injury against the uninsured motorist in a court of competent
       jurisdiction and notice of such suit has been given to us;
   2. reached an agreement with us as to the amount due under this coverage; or
   3.	formally instituted arbitration proceedings by notifying us in writing via certified mail,
       return receipt requested.

   If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any
   purpose, including evidence for any civil or criminal proceeding.



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    OUR RIGHTS TO RECOVER
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   We are entitled to payment, reimbursement and subrogation as provided in this section
   regardless of whether the total amount of the recovery of the insured person on account
   of the injury is less than the actual loss suffered by the insured person. Such rights of re-
   covery apply to the extent of our payment. The insured person assigns and transfers to
   us all rights, claims, demands and interest which that insured person may have against
   any party through the occurrence of a loss and authorizes us to sue, compromise or
   settle in the insured person’s name all such claims and to execute and sign releases
   and acquittances in the insured person’s name. That insured person may be required to
   sign documents related to the recovery and must do whatever else we require to help
   us exercise those recovery rights, and do nothing after an accident or loss to prejudice
   those rights. However, this paragraph does not apply to a payment made under Part
   III(A)—Uninsured/Underinsured Motorist Bodily Injury Coverage for damages that an
   insured person is entitled to recover from the owner or operator of an underinsured
   motor vehicle.

   Subject to the terms of the preceding paragraph, when an insured person has been
   paid by us and also recovers from another, the amount recovered will be held by the
   insured person in trust for us and reimbursed to us to the extent of our payment. If
   we are not reimbursed, we may pursue recovery of that amount directly against that
   insured person.

   If an insured person recovers from another, other than the owner or operator of an
   underinsured motor vehicle, without our written consent, the insured person’s right to
   payment under any affected coverage will no longer exist.

   If we elect to exercise our rights of recovery against another, we will also attempt to
   recover any deductible incurred by an insured person under this policy unless we are
   specifically instructed by that person not to pursue the deductible. We have no obligation
   to pursue recovery against another for any loss not covered by this policy.

   We reserve the right to compromise or settle the deductible and property damage
   claims against the responsible parties for less than the full amount. We also reserve the
   right to incur reasonable expenses and attorney fees in pursuit of the recovery.

   If the total recovery is less than the total of our payment and the deductible, we will re-
   duce reimbursement of the deductible based on the proportion that the actual recovery
   bears to the total of our payment and the deductible. A proportionate share of collection
   expenses and attorney fees incurred in connection with these recovery efforts will also
   reduce reimbursement of the deductible.

   These provisions will be applied in accordance with state law.



                                                33
    JOINT AND INDIVIDUAL
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   If there is more than one named insured on this policy, any named insured may cancel
   or change this policy. The action of one named insured will be binding on all persons
   provided coverage under this policy.

   BANKRUPTCY

   The bankruptcy or insolvency of an insured person will not relieve us of any obliga-
   tions under this policy. If execution of a judgment against an insured person is returned
   unsatisfied because of the bankruptcy or insolvency of an insured person, a person
   claiming damages under Part I—Liability To Others may maintain an action against us
   for the amount of the judgment, subject to the terms and conditions of this policy and
   not exceeding our Limits of Liability under Part I.




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